                     Case 1:12-cr-00152-JB               Document 278            Filed 04/29/14             Page 1 of 5
AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                           UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                            Amended Judgment in a Criminal Case - Reason:
                             V.                                       Correction of Sentence for Clerical Mistake (fed. R. Crim. P. 36)

                          Rodney Chavez                               (For Offenses Committed On or After November 1, 1987)
                                                                      Case Number: 1:12CR00152-002JB
                                                                      USM Number: 65404-051
                                                                      Defense Attorney: Michael Davis/Angelica Hall, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) S6 and S7 of Indictment
d    pleaded nolo contendere to count(s) which was accepted by the court.
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                         Offense Ended               Count
                                                                                                                        Number(s)
18 U.S.C. Sec.      Wire Fraud                                                              04/22/2011                  S6
1343

18 U.S.C. Sec.      Conspiracy to Violate 18 U.S.C. Sec. 1956(a)(1)(B)(i)                   05/31/2011                  S7
1956(h)

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has been found not guilty on count .
c    Count s S1 through S5 and S8 through S21 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      December 16, 2013
                                                                      Date of Imposition of Judgment


                                                                      /s/ James O. Browning
                                                                      Signature of Judge


                                                                      Honorable James O. Browning
                                                                      United States District Judge
                                                                      Name and Title of Judge


                                                                      April 29, 2014
                                                                      Date Signed
                     Case 1:12-cr-00152-JB            Document 278             Filed 04/29/14         Page 2 of 5
AO 245B (Rev. 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 5


Defendant: Rodney Chavez
Case Number: 1:12CR00152-002JB


                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 63 months.

A term of 63 months is imposed as to each of Counts S6 and S7; said terms shall run concurrently.

For the reasons stated on the record at the sentencing hearing on December 16, 2013, the Court varies.

c      The court makes the following recommendations to the Bureau of Prisons:

       the to camps at the facilities listed in the following order: 1) Florence Federal Correctional Institution, Florence, Colorado;
       2) La Tuna Federal Correctional Institution, Anthony, New Mexico-Texas; and, 3) Leavenworth Federal Correctional
       Institution, Leavenworth, Kansas, if eligible.

       The Court recommends the defendant participate in the Bureau of Prisons 500 hour drug and alcohol treatment program.

c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                              RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.




                                                                     UNITED STATES MARSHAL

                                                                    By
                                                                     DEPUTY UNITED STATES MARSHAL
                      Case 1:12-cr-00152-JB                  Document 278                Filed 04/29/14            Page 3 of 5
AO 245B (Rev. 12/10) - Sheet 3 - Supervised Release                                                                                   Judgment - Page 3 of 5


Defendant: Rodney Chavez
Case Number: 1:12CR00152-002JB


                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

A term of 3 years is imposed as to each of Counts S6 and S7; said terms shall run concurrently.
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the Criminal Monetary
Penalties sheet of this judgment.
The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                      STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
                     Case 1:12-cr-00152-JB   Document 278     Filed 04/29/14     Page 4 of 5
AO 245B (Rev. 12/10) Sheet 3                                                                   Judgment - Page 4 of 5


Defendant: Rodney Chavez
Case Number: 1:12CR00152-002JB


                                  SPECIAL CONDITIONS OF SUPERVISION

The defendant must participate in and successfully complete an outpatient substance abuse treatment
program, approved by the probation officer, which may include testing. The defendant is prohibited from
obstructing or attempting to obstruct or tamper, in any fashion, with the collection, efficiency and accuracy
of any substance abuse testing device or procedure. The defendant may be required to pay a portion of the
cost of treatment and/or drug testing to be determined by the Probation Office.

The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting alcohol, illicit
substances, or any other contraband at the direction of the probation officer. He must inform any residents
that the premises may be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants.

The defendant must refrain from the use and possession of synthetic cannabinoids or other legally sold
designer drugs.

The defendant will be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without prior approval of the probation officer.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

The defendant shall have no contact with the co-defendants in this case.

The defendant shall not have any direct or indirect contact or communication with the victims, or go near
or enter the premises where the victims resides, are employed, attends school or treatment, except under
circumstances approved in advance and in writing by the probation officer.

The defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
or personal history or characteristics and shall permit the probation officer to make such notifications and
to confirm the defendant's compliance with such notification requirement, as directed by the Court.
                     Case 1:12-cr-00152-JB                     Document 278      Filed 04/29/14          Page 5 of 5
AO 245B (Rev.12/10) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 5 of 5


Defendant: Rodney Chavez
Case Number: 1:12CR00152-002JB


                                                 CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $200.00                           $0.00                         $847,370.52


                                                         SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.

Pursuant to the Mandatory Victim Restitution Act, it is further ordered that the Defendant will make restitution to the victim
investors in the following amounts: Ana Garner $25,421.12; Annette McDaniel $47,113.80; Aubrey (c/o Shizue Sprague) $24,573.75;
Brian Bajor $14,574.78; Carolyn Harden $12,710.55; Cheryl Ganch $14,151.09; Luanna & Dale Fox $62,705.42; Gabrielle Swanson
$13,049.50; Jane Yoakum $50,842.24; Jean Lavoie $7,202.65; Jesus & Christine Legoretta $12,710.55; Dennis & Joan Foster
$32,708.50; John Pollard $64,484.90; Kay Klunder $16,947.42; Kelly Hunt $14,574.78; Linda Gallegos $12,710.55; Margaret Otto
$15,252.67; Marian Lowe $38,131.67; Martha Raines $15,761.10; Morgan Dilts $1,271.05; Paul Van Koevering $18,642.15; Robert
& Arlene Vigil $12,710.55; Ron & Roz Kintzler $41,944.85; Shelia Schrum $11,863.18; Steve Pitts $79,144.40; Trudy Trexler
$25,421.12; Violet Lovely (c/o Eugene McCafferty) $81,432.30; and Wilda Dilts $79,313.88. The total amount due is $847,370.52.
The restitution will be paid jointly and severally with the co-Defendants. The restitution will be paid through the Bureau of
Prisons Inmate Financial Responsibility Program. Additionally, restitution will be paid during the Defendant`s term of supervised
release in the amount of $150.00 per month or 10% of his gross income, whichever is greater. For tracking purposes, all payments
made by the Defendant shall be submitted to the Clerk of the Court, Attn: Intake, Case No. 1:12CR00152-001JB, 333 Lomas
Blvd., N.W., Suite 270, Albuquerque, New Mexico 87102. The payments shall then be forwarded to the victims at the addressees
on file with the Clerk of the Court.

Consistent with a stipulation in the Plea Agreement, the Defendant forfeits his rights, title, and interest in the assets listed in
paragraph 16 of the Plea Agreement.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
